       CASE 0:16-cv-01127-JRT-DTS Document 136 Filed 05/30/18 Page 1 of 3



                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT MINNESOTA


John Doe,                                    Civil Action No. 16-cv-1127 (ADM/KMM)

                  Plaintiff,


        v.                                   DECLARATION OF MAREN F. GRIER


University of St. Thomas, Minnesota,

                  Defendant.


        I, Maren F. Grier, hereby declare the following:

        1.    I am an attorney in the law firm of Briggs and Morgan, P.A., which

represents Defendant University of St. Thomas (“UST”) in this matter.

        2.    I make this declaration upon my personal knowledge.

        3.    Attached hereto as Exhibit 1 is a true and correct copy of excerpts from the

transcript of the deposition of Linda Baughman.

        4.    Attached hereto as Exhibit 2 is a true and correct copy of excerpts from the

transcript of the deposition of Nora Fitzpatrick.

        5.    Attached hereto as Exhibit 3 is a true and correct copy of excerpts from the

transcript of the deposition of John Doe.

        6.    Attached hereto as Exhibit 4 is a true and correct copy of excerpts from the

transcript of the deposition of Vern Klobassa.




10792683v1
       CASE 0:16-cv-01127-JRT-DTS Document 136 Filed 05/30/18 Page 2 of 3



        7.     Attached hereto as Exhibit 5 is a true and correct copy of excerpts from the

transcript of the deposition of Sharon Howell.

        8.     Attached hereto as Exhibit 6 is a true and correct copy of excerpts from the

transcript of the deposition of Jean Giebenhain.

        9.     Attached hereto as Exhibit 7 is a true and correct copy of a June 27, 2017

article from the Star Tribune titled Minneapolis, university police receive specialized

training for sexual assault victims.

        10.    Attached hereto as Exhibit 8 is a true and correct copy of a December 10,

2017 article from the Wall Street Journal titled The NYPD’s Real SVU Is Changing Its

Approach to Sex Crimes.

        11.    Attached hereto as Exhibit 9 is a true and correct copy of Defendant’s

Supplemental Responses to Plaintiff’s First Interrogatories.

        12.    Attached hereto as Exhibit 10 is a true and correct copy of an October 24,

2017 email from Melissa Schultz to me. Despite multiple requests, Plaintiff never put

these discovery responses into updated and signed interrogatory responses.

        13.    Attached hereto as Exhibit 11 is a true and correct copy of a February 23,

2018 email from me to Beau McGraw.

        14.    Attached hereto as Exhibit 12 is a true and correct copy of Plaintiff’s expert

disclosures.

        I declare under penalty of perjury that the foregoing is true and correct.




                                              2

10792683v1
       CASE 0:16-cv-01127-JRT-DTS Document 136 Filed 05/30/18 Page 3 of 3



Executed on May 24, 2018
                                           s/Maren F. Grier
                                           Maren F. Grier




                                       3

10792683v1
